                                         Case 19-10490                       Doc 1          Filed 03/11/19                 Page 1 of 37
    Fill in this information to identify the case

    United States Bankruptcy Court for the

                               District of   Delaware
                                             (State)
    Case number (If known):                                         Chapter 11

                                                                                                                                                         ☐ Check if this is
                                                                                                                                                         an amended filing

     Official Form 201
     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       04/16
     If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
     number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


       1.   Debtor’s name                              Chef Holdings, Inc.

 
       2.   All other names debtor used                N/A
            in the last 8 years

            Include any assumed names, trade
            names, and doing business as
            names


 
       3.   Debtor’s federal Employer
            Identification Number (EIN)             XX-XXXXXXX

 
       4.   Debtor’s        Principal place of business                                                         Mailing address, if different from principal place of
            address                                                                                             business


                            504                        Sansom Blvd.
                            Number                     Street                                                   Number                      Street



                                                                                                                P.O. Box


                            Saginaw                    Texas               76179
                            City                       State               ZIP Code                             City                        State          ZIP Code

                                                                                                                Location of principal assets, if different from principal
                                                                                                                place of business
                            Tarrant
                            County
                                                                                                                Number                      Street




                                                                                                                City                        State          ZIP Code



       5.   Debtor’s website (URL)                     www.ctifoods.com

 
       6.   Type of debtor                          ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                    ☐ Partnership (excluding LLP)
                                                    ☐ Other. Specify:



    Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                Page 1

 
    Debtor         Chef Holdings, Inc.     Case 19-10490                  Doc 1       Filed 03/11/19     Page
                                                                                                  Case number      2 of 37
                                                                                                              (if known)
                   Name
 
                                                  A. Check one:
    7.   Describe debtor’s business
                                                  ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                                  ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  ☒   None of the above


                                                  B. Check all that apply:
                                                  ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                                  ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                  ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                  C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                     http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                      3119 (Other Food Manufacturing)
                                               
                                                  Check one:
    8.   Under which chapter of the
         Bankruptcy Code is the                   ☐ Chapter 7
         debtor filing?                           ☐ Chapter 9
                                                  ☒ Chapter 11. Check all that apply:
                                                                   ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                     insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                     on 4/01/19 and every 3 years after that).
                                                                   ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                     debtor is a small business debtor, attach the most recent balance sheet,
                                                                     statement of operations, cash-flow statement, and federal income tax return or
                                                                     if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                     1116(1)(B).
                                                                   ☒ A plan is being filed with this petition.
                                                                   ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                     creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                   ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                     the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                     Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                     Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                     with this form.
                                                                   ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                     1934 Rule 12b-2.
                                                  ☐ Chapter 12
 
    9.   Were prior bankruptcy cases              ☒ No
         filed by or against the debtor
                                                  ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                     MM/ DD/ YYYY
         separate list.
                                                               District                       When                          Case number

                                                                                                            MM / DD/ YYYY
                                               
    10. Are any bankruptcy cases                  ☐ No
        pending or being filed by a
        business partner or an                    ☒ Yes        Debtor         See Schedule 1                                Relationship   See Schedule 1
        affiliate of the debtor?                               District       See Schedule 1                                When           See Schedule 1
         List all cases. If more than 1,
                                                               Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.

                                               


    Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      Page 2

 
    Debtor         Chef Holdings, Inc.   Case 19-10490                 Doc 1          Filed 03/11/19     Page
                                                                                                  Case number      3 of 37
                                                                                                              (if known)
                   Name
 
       11. Why is the case filed in this       Check all that apply:
           district?
                                               ☒       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                       district.
                                               ☐       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                                

    12. Does the debtor own or have
                                               ☒ No
        possession of any real
        property or personal property          ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        that needs immediate                                Why does the property need immediate attention? (Check all that apply.)
        attention?                                          ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                 health or safety.
                                                                 What is the hazard?
                                                            ☐    It needs to be physically secured or protected from the weather.
                                                            ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                 without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                 securities-related assets or other options).

                                                            ☐ Other
 
                                                            Where is the property?
                                                                                                Number                   Street


                                                                                                City                              State                 ZIP Code
                                                          Is the property insured?
                                                                                              ☐ No
                                                                                             ☐ Yes. Insurance agency
                                                                                                       Contact Name
                                                                                                       Phone




                    Statistical and administrative information 



       13. Debtor’s estimation of          Check one:
           available funds                 ☒       Funds will be available for distribution to unsecured creditors.
                                           ☐       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

       14. Estimated number of             
                                           ☐       1-49                                     ☐      1,000-5,000                            ☐   25,001-50,000
           creditors                       ☐       50-99                                    ☒      5,001-10,000                           ☐   50,001-100,000
             (on a consolidated basis)     ☐       100-199                                  ☐      10,001-25,000                          ☐   More than 100,000
                                           ☐       200-999

       15. Estimated assets                ☐       $0-$50,000                               ☐      $1,000,001-$10 million                 ☒   $500,000,001-$1 billion
           (on a consolidated basis)       ☐       $50,001-$100,000                         ☐      $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                           ☐       $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                            ☐      $50,000,001-$100 million
                                           ☐       $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                            ☐      $100,000,001-$500 million

       16. Estimated liabilities           ☐       $0-$50,000                               ☐      $1,000,001-$10 million                 ☒   $500,000,001-$1 billion
           (on a consolidated basis)       ☐       $50,001-$100,000                         ☐      $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                           ☐       $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                            ☐      $50,000,001-$100 million
                                           ☐       $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                            ☐      $100,000,001-$500 million


    Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  Page 3

 
    Debtor         Chef Holdings, Inc.   Case 19-10490             Doc 1        Filed 03/11/19     Page
                                                                                            Case number      4 of 37
                                                                                                        (if known)
                   Name
 
                    Request for Relief, Declaration, and Signatures 


    WARNING   Bankruptcy fraud is a serious crime.  Making a false statement in connection with a bankruptcy case can result in fines up to 
               $500,000 or imprisonment for up to 20 years, or both.  18 U.S.C. §§ 152, 1341, 1519, and 3571. 
 
           17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
               authorized representative of           this petition.
               debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                      true and correct.
                                                      I declare under penalty of perjury that the foregoing is true and correct.

                                                          Executed on March 11, 2019
                                                                         MM/ DD /YYYY

                                                                                                                    
                                                          /s/ Kent Percy                                               Kent Percy
                                                          Signature of authorized representative of                    Printed name
                                                           debtor 

                                                          Chief Restructuring Officer                                   
                                                          Title                                                         
                                                                     

 

           18. Signature of attorney                   /s/ M. Blake Cleary                                            Date    March 11, 2019
                                                     Signature of attorney for debtor                                        MM / DD / YYYY

                                                     M. Blake Cleary                                                 Matthew S. Barr
                                                       Printed Name
                                              
                                                     Young Conaway Stargatt & Taylor, LLP                            Weil, Gotshal & Manges LLP
                                                       Firm Name
                                              
                                                     Rodney Square, 1000 North King Street                           767 Fifth Avenue
                                                       Address
                                              
                                                     Wilmington, Delaware 19801                                      New York, New York 10153
                                                       City/State/Zip
                                              
                                                     (302) 571-6600                                                  (212) 310-8000
                                                       Contact Phone
                                              
                                                     mbcleary@ycst.com                                               matt.barr@weil.com
                                                       Email Address
                                              
                                                     3614                                Delaware
                                                       Bar Number                          State
                                              




    Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          Page 4

 
                 Case 19-10490       Doc 1     Filed 03/11/19    Page 5 of 37
 



                                             Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

           On the date hereof, each of the affiliated entities listed below (collectively, the
“Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the District of Delaware. The Debtors have filed
a motion requesting that the chapter 11 cases of these entities be consolidated for procedural
purposes only and jointly administered pursuant to Rule 1015(b) of the Federal Rules of
Bankruptcy Procedure.

                                            COMPANY
                   Chef Holdings, Inc.

                   Chef Intermediate, Inc.

                   CTIF Holdings, Inc.

                   Chef Investment, LLC

                   CTI Foods Acquisition LLC

                   CTI Foods Holding Co., LLC

                   CTI Services Corporation

                   CTI Foods, LLC

                   CTI Arlington, LLC

                   CTI Saginaw I, LLC

                   CTI King of Prussia, LLC

                   CTI-SSI Food Services, LLC

                   S & S Foods LLC

                   Custom Food Products Holdings, LLC

                   Custom Food Products, LLC

                   Liguria Holdings, Inc.

                   Liguria Foods, Inc.
 




 
                  Case 19-10490       Doc 1     Filed 03/11/19     Page 6 of 37



                      CERTIFICATE OF CORPORATE SECRETARY
                                       OF
                               CHEF HOLDINGS, INC.
                             CHEF INTERMEDIATE, INC.
                               CTIF HOLDINGS, INC.

                                         March 11, 2019

        I, Jonathon P. Spiller, being the duly elected and authorized Corporate Secretary of each
of the entities referenced above, (each, a “Company”), hereby deliver this Certificate of Corporate
Secretary on behalf of each Company and do hereby certify, in my capacity as a duly elected and
authorized officer of each Company, that I have access to the corporate records of each Company;
and

        I further certify that attached hereto as Exhibit A is a true, correct, and complete copy of
the resolutions duly adopted and approved by the Board of Directors of each Company on
March 11, 2019, and that such resolutions (a) have not been amended, rescinded, or modified
since their adoption and remain in full force and effect as of the date hereof, and (b) were
adopted in accordance with the provisions of applicable law, each Company’s certificate of
incorporation and each Company’s bylaws.

       IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 11th
day of March, 2019.

                                                             Jonathon P. Spiller
                                                             Corporate Secretary
                  Case 19-10490        Doc 1     Filed 03/11/19     Page 7 of 37



                                   RESOLUTIONS OF
                              THE BOARD OF DIRECTORS OF
                                 CHEF HOLDINGS, INC.
                               CHEF INTERMEDIATE, INC.
                                  CTIF HOLDINGS, INC.

                                          March 11, 2019


               WHEREAS, the Board of Directors (the “Board”) of each of the entities referenced
above (each, a “Company,” and collectively, the “Companies”) has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of such Company regarding the liabilities and liquidity of such Company, the
strategic alternatives available to it, and the impact of the foregoing on the Company’ businesses;
and

                 WHEREAS, the Board of each Company has had the opportunity to consult with
the management and the legal and financial advisors of such Company to fully consider each of
the strategic alternatives available to such Company; and

              WHEREAS, the Board of each Company believes that taking the actions set forth
below is in the best interests of the Company and, therefore, desires to approve the following
resolutions.

I.       Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that the Board of each Company has
determined, after due consultation with the management and the legal and financial advisors of
such Company, that it is desirable and in the best interests of the Company, its creditors, and other
parties in interest that a petition be filed by the Company seeking relief under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and be it further

               RESOLVED, that any manager, member, officer, or director of such Company
(each, an “Authorized Person”), in each case, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed to execute and file in the name and on behalf of such
Company, and under its corporate seal or otherwise, all plans, petitions, schedules, statements,
motions, lists, applications, pleadings, orders, and other documents in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in connection
therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors,
investment bankers, and other professionals, and to take and perform any and all further acts and
deeds which such Authorized Person, who may act without the joinder of any other Authorized
Person, deems necessary, proper, or desirable in connection with such Company’s chapter 11 case
(each, a “Chapter 11 Case”), including negotiating, executing, delivering, and performing any
and all documents, agreements, certificates, and instruments in connection with the transactions
and professional retentions set forth in this resolution, with a view to the successful prosecution of
such Chapter 11 Case; and be it further
                    Case 19-10490       Doc 1     Filed 03/11/19     Page 8 of 37



 II.       Retention of Advisors

                RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
  Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for each Company in its
  Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that AlixPartners, LLC, located at 909 Third Avenue, New York,
  NY 10022, is hereby retained as financial advisor for each Company in its Chapter 11 Case, subject
  to Bankruptcy Court approval; and be it further

                RESOLVED, that Centerview Partners LLC, located at 31 West 52nd Street, 22nd
  Floor, New York, NY 10019, is hereby retained as investment banker for each Company in its
  Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that Young Conaway Stargatt & Taylor, LLP, located at 1000
  North King Street, Wilmington, DE 19801, is hereby retained as attorneys for each Company in
  its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that Prime Clerk LLC, located at 830 3rd Avenue, New York, NY
  10022, is hereby retained as claims, noticing and solicitation agent for each Company in its Chapter
  11 Case, subject to Bankruptcy Court approval; and be it further

III.       Debtor-in-Possession Financing

                  RESOLVED, that in connection with each Chapter 11 Case, it is in the best interest
  of each Company to engage in, and each Company will obtain benefits from, the lending
  transactions, under certain superpriority secured debtor-in-possession credit facilities in an
  aggregate principal amount of $155,000,000 consisting of (i) $75,000,000 to be evidenced by that
  certain Senior Secured Super Priority Debtor-in-Possession Term Loan Agreement (together with
  the Exhibits and Schedules annexed thereto, the “DIP Term Loan Agreement”), to be entered
  into by and among CTI Foods Holding Co., LLC (“CTI Foods Holding”), as borrower, the other
  Companies, as guarantors (the “DIP Term Loan Guarantors”), the lenders from time to time
  party thereto (the “DIP Term Loan Lenders”), and Cortland Capital Market Services LLC, as
  administrative agent and collateral agent for the DIP Term Loan Lenders (in such capacity,
  including any successor thereto, the “DIP Term Loan Agent”) and (ii) $80,000,000 to be
  evidenced by that certain Senior Secured Super Priority Debtor-in-Possession Revolving Credit
  Agreement (together with the Exhibits and Schedules annexed thereto, the “DIP ABL Credit
  Agreement” and together with the DIP Term Loan Agreement, the “DIP Credit Agreements”),
  to be entered into by and among CTI Foods Holding and its subsidiary Companies, as borrowers
  (the “DIP ABL Borrowers”), the other Companies, as guarantors (the “DIP ABL Guarantors”),
  the lenders from time to time party thereto (the “DIP ABL Lenders” and together with the DIP
  Term Loan Lenders, the “DIP Lenders”), and Barclays Bank PLC, as administrative agent and
  collateral agent for the DIP ABL Lenders (in such capacity, including any successor thereto, the
  “DIP ABL Agent” and together with the DIP Term Loan Agent, the “DIP Agents”); in each case
  subject to approval by the Bankruptcy Court, which is necessary and appropriate to the conduct,
  promotion and attainment of the business of the Companies (the “Debtor-in-Possession



                                                   2
                  Case 19-10490        Doc 1     Filed 03/11/19     Page 9 of 37



Financing”); and be it further

                RESOLVED, that the form, terms, and provisions of each of (i) the DIP Credit
Agreements, including the use of proceeds to provide liquidity for the Companies throughout the
Chapter 11 Cases, substantially in the form presented to each Governing Body and (ii) any and all
of the other agreements, including, without limitation, any guarantee and security agreement,
certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
and/or filed in connection with the Debtor-in-Possession Financing (together with the DIP Credit
Agreements, collectively, the “DIP Financing Documents”), and each Company’s performance
of its obligations thereunder, including the borrowings, the grant of a security interest, and
guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and approved;
and be it further

               RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company to cause such Company to
negotiate and approve the terms, provisions of and performance of, and to prepare, execute and
deliver the DIP Credit Agreements and any other DIP Financing Documents, in the name and on
behalf of such Company under its corporate seal or otherwise, and such other documents,
agreements, instruments and certificates as may be required by the DIP Agents or required by the
DIP Credit Agreements and any other DIP Financing Documents; and be it further

               RESOLVED, that each Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the DIP Financing
Documents, including the granting of security thereunder; and be it further

                RESOLVED, that any Authorized Person is hereby authorized to grant security
interests in, and liens on, any and all property of each applicable Company as collateral pursuant
to the DIP Financing Documents to secure all of the obligations and liabilities of the Company
thereunder to the DIP Lenders and the DIP Agents, and to authorize, execute, verify, file and/or
deliver to the DIP Agents, on behalf of such Company, all agreements, documents, and instruments
required by the DIP Lenders in connection with the foregoing; and be it further

                RESOLVED, that  any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company to take all such further actions
including, without limitation, to pay all fees and expenses, in accordance with the terms of the DIP
Financing Documents, which shall, in such Authorized Person’s sole judgment, be necessary,
desirable, proper or advisable to perform such Company’s obligations under or in connection with
the DIP Credit Agreements or any of the other DIP Financing Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                RESOLVED, that  any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Credit Agreements and/or any of the DIP Financing Documents, which
shall, in such Authorized Person’s sole judgment, be necessary, desirable, proper or advisable; and
be it further




                                                  3
                  Case 19-10490        Doc 1    Filed 03/11/19      Page 10 of 37



IV.       Exit Facility Financing

                 RESOLVED, that in connection with exiting the Chapter 11 Cases, it is in the best
 interest of each Company to engage in, and each Company will obtain benefits from, the guarantee
 of the lending transactions, under certain exit credit facilities in an aggregate principal amount of
 approximately $235,000,000 as described in (i) that certain Exit Facility Term Sheet (“the Exit
 ABL Term Sheet”) annexed to that certain Restructuring Support Agreement entered into by each
 Company (the “RSA”), as authorized by each applicable Governing Body, on March 7, 2019,
 which will be evidenced by a certain credit agreement (together with the Exhibits and Schedules
 annexed thereto, the “Exit ABL Credit Agreement”), to be entered into by and among the DIP
 ABL Borrowers (in such capacity, the “Exit ABL Borrowers”), the guarantors party thereto, the
 lenders party thereto (the “Exit ABL Lenders”), and Barclays Bank PLC, in its capacity as
 administrative agent and collateral agent for the Exit ABL Lenders (in such capacity, including
 any successor thereto, the “Exit ABL Administrative Agent”), and (ii) that certain Exit Facility
 Term Sheet annexed to the RSA (“Exit Term Loan Term Sheet” and together with the Exit ABL
 Term Sheet, the “Exit Term Sheets”; capitalized terms used in this section with respect to exit
 facility financing and not otherwise defined herein shall have the meanings ascribed to such terms
 therein), which will be evidenced by a certain credit agreement (together with the Exhibits and
 Schedules annexed thereto, the “Exit Term Loan Credit Agreement”; and together with the Exit
 ABL Credit Agreement, the “Exit Facility Credit Agreements”), to be entered into by and among
 CTI Foods Holding (in such capacity, the “Exit Term Loan Borrower”), the guarantors party
 thereto, the lenders party thereto (the “Exit Term Loan Lenders”), and Cortland Capital Markets
 Services LLC in its capacity as administrative agent and collateral agent for the Exit Term Loan
 Lenders (in such capacity, including any successor thereto, the “Exit Term Loan Administrative
 Agent”; and together with the Exit ABL Administrative Agent, the “Exit Administrative
 Agents”); in each case subject to approval by the Bankruptcy Court, which is necessary and
 appropriate to the conduct, promotion and attainment of the business of the Companies (the “Exit
 Financing”); and be it further

                RESOLVED, that the form, terms and provisions of each of (i) the Exit Term
 Sheets, substantially in the form presented to each Governing Body and (ii) any and all of the other
 agreements, including, without limitation, the Exit Facility Credit Agreements, any guarantee and
 security agreement, certificates, documents and instruments authorized, executed, delivered,
 reaffirmed, verified and/or filed in connection with the Exit Financing (together with the Exit
 Facility Credit Agreements, collectively, the “Exit Facility Financing Documents”) and each
 Company’s performance of its obligations thereunder, including the grant of a security interest and
 the guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and
 approved; and be it further

                 RESOLVED, that any Authorized Person is hereby authorized, empowered, and
 directed, in the name and on behalf of each applicable Company, to cause such Company to
 negotiate and approve the terms, provisions of and performance of, and to prepare, execute and
 deliver the Exit Financing Documents to which it is a party, in the name and on behalf of the
 Company, under its corporate seal or otherwise, and such other documents, agreements,
 instruments and certificates as may be required by the Exit Administrative Agent or required by
 the Exit Facility Credit Agreements and any other Exit Financing Documents; and be it further



                                                  4
                 Case 19-10490        Doc 1    Filed 03/11/19      Page 11 of 37



               RESOLVED, that each Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the Exit Financing
Documents, including the granting of security thereunder; and be it further

                RESOLVED, that any Authorized Person is hereby authorized to grant security
interests in, and liens on, any and all property of each applicable Company as collateral pursuant
to the Exit Financing Documents to secure all of the obligations and liabilities of the Company
thereunder to the Exit Lenders and the Exit Administrative Agent, and to authorize, execute, verify,
file and/or deliver to each Exit Administrative Agent, on behalf of the Company, all agreements,
documents and instruments required by the Exit Lenders in connection with the foregoing; and be
it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to take all such further actions
including, without limitation, to pay all fees and expenses, in accordance with the terms of the Exit
Financing Documents, which shall, in such Authorized Person’s sole judgment, be necessary,
desirable, proper, or advisable to perform the Company’s obligations under or in connection with
the Exit Financing Documents and the transactions contemplated therein and to carry out fully the
intent of the foregoing resolutions; and be it further

               RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the Exit Facility Credit Agreements and/or any of the Exit Facility Financing
Documents which shall, in such Authorized Person’s sole judgment, be necessary, desirable,
proper or advisable; and be it further

V.       General Authorization and Ratification

                RESOLVED, that any Authorized Person, who may act without the joinder of any
other Authorized Person, is hereby authorized, empowered, and directed, in the name and on
behalf of each applicable Company, to cause such Company to enter into, execute, deliver,
certify, file and/or record, and perform, such agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities, certificates, or
other documents, and to take such other actions that in the judgment of any Authorized Person,
who may act without the joinder of any other Authorized Person, shall be or become necessary,
proper, or desirable in connection with the Chapter 11 Cases; and be it further

                RESOLVED, that any and all past actions heretofore taken by any Authorized
Person in the name and on behalf of the applicable Company in furtherance of any or all of the
preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects
as the acts and deeds of such Company; and be it further

               RESOLVED, that the Secretary of each Company is authorized to place a copy of
this consent in the official records of each Company to document the actions set forth herein as
actions taken by the Board.




                                                 5
                 Case 19-10490       Doc 1    Filed 03/11/19     Page 12 of 37



                                      ACTION BY
                                 WRITTEN CONSENT OF
                               THE GOVERNING BODIES OF

                              CHEF INVESTMENT, LLC
                            CTI FOODS ACQUISITION LLC
                            CTI FOODS HOLDING CO., LLC
                            CTI SERVICES CORPORATION
                                   CTI FOODS, LLC
                                CTI ARLINGTON, LLC
                                 CTI SAGINAW I, LLC
                             CTI KING OF PRUSSIA, LLC
                            CTI-SSI FOOD SERVICES, LLC
                                  S & S FOODS LLC
                       CUSTOM FOOD PRODUCTS HOLDINGS, LLC
                           CUSTOM FOOD PRODUCTS, LLC
                              LIGURIA HOLDINGS, INC.
                                LIGURIA FOODS, INC.

                                         March 11, 2019

                The required member of the board of directors, the sole member, the managing
member, or the sole manager, as the case may be (as applicable, the “Governing Body”), of each
of the entities referenced above (each, a “Company,” and collectively, the “Companies”), do
hereby consent to, adopt, and approve, by written consent in accordance with, as applicable,
Section 141(f) of the Delaware General Corporation Law, Section 18-302(d) of the Delaware
Limited Liability Company Act, Idaho Corporations Code, California Revised Uniform Limited
Liability Company Act, and Section 101.359 of the Texas Limited Liability Company Act, the
following resolutions and each and every action effected thereby:

               WHEREAS, the Governing Body of each Company has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of such Company regarding the liabilities and liquidity of such Company, the
strategic alternatives available to it, and the impact of the foregoing on the Company’ businesses;
and

               WHEREAS, the Governing Body of each Company has had the opportunity to
consult with the management and the legal and financial advisors of such Company to fully
consider each of the strategic alternatives available to such Company; and

               WHEREAS, the Governing Body of each Company believes that taking the actions
set forth below is in the best interests of the Company and, therefore, desires to approve the
following resolutions.
                   Case 19-10490        Doc 1    Filed 03/11/19      Page 13 of 37



 I.       Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that the Governing Body of each
 Company has determined, after due consultation with the management and the legal and financial
 advisors of such Company, that it is desirable and in the best interests of the Company, its creditors,
 and other parties in interest that a petition be filed by the Company seeking relief under the
 provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and be it
 further

                RESOLVED, that any manager, member, officer, or director of such Company
 (each, an “Authorized Person”), in each case, acting singly or jointly, be, and each hereby is,
 authorized, empowered, and directed to execute and file in the name and on behalf of such
 Company, and under its corporate seal or otherwise, all plans, petitions, schedules, statements,
 motions, lists, applications, pleadings, orders, and other documents in the United States
 Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in connection
 therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors,
 investment bankers, and other professionals, and to take and perform any and all further acts and
 deeds which such Authorized Person, who may act without the joinder of any other Authorized
 Person, deems necessary, proper, or desirable in connection with such Company’s chapter 11 case
 (each, a “Chapter 11 Case”), including negotiating, executing, delivering, and performing any
 and all documents, agreements, certificates, and instruments in connection with the transactions
 and professional retentions set forth in this resolution, with a view to the successful prosecution of
 such Chapter 11 Case; and be it further
II.       Retention of Advisors

               RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
 Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for each Company in its
 Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that AlixPartners, LLC, located at 909 Third Avenue, New York,
 NY 10022, is hereby retained as financial advisor for each Company in its Chapter 11 Case, subject
 to Bankruptcy Court approval; and be it further

               RESOLVED, that Centerview Partners LLC, located at 31 West 52nd Street, 22nd
 Floor, New York, NY 10019, is hereby retained as investment banker for each Company in its
 Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that Young Conaway Stargatt & Taylor, LLP, located at 1000
 North King Street, Wilmington, DE 19801, is hereby retained as attorneys for each Company in
 its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that Prime Clerk LLC, located at 830 3rd Avenue, New York, NY
 10022, is hereby retained as claims, noticing and solicitation agent for each Company in its Chapter
 11 Case, subject to Bankruptcy Court approval; and be it further




                                                   2
                   Case 19-10490       Doc 1    Filed 03/11/19     Page 14 of 37



III.       Debtor-in-Possession Financing

                  RESOLVED, that in connection with each Chapter 11 Case, it is in the best interest
  of each Company to engage in, and each Company will obtain benefits from, the lending
  transactions, under certain superpriority secured debtor-in-possession credit facilities in an
  aggregate principal amount of $155,000,000 consisting of (i) $75,000,000 to be evidenced by that
  certain Senior Secured Super Priority Debtor-in-Possession Term Loan Agreement (together with
  the Exhibits and Schedules annexed thereto, the “DIP Term Loan Agreement”), to be entered
  into by and among CTI Foods Holding Co., LLC (“CTI Foods Holding”), as borrower, the other
  Companies, as guarantors (the “DIP Term Loan Guarantors”), the lenders from time to time
  party thereto (the “DIP Term Loan Lenders”), and Cortland Capital Market Services LLC, as
  administrative agent and collateral agent for the DIP Term Loan Lenders (in such capacity,
  including any successor thereto, the “DIP Term Loan Agent”) and (ii) $80,000,000 to be
  evidenced by that certain Senior Secured Super Priority Debtor-in-Possession Revolving Credit
  Agreement (together with the Exhibits and Schedules annexed thereto, the “DIP ABL Credit
  Agreement” and together with the DIP Term Loan Agreement, the “DIP Credit Agreements”),
  to be entered into by and among CTI Foods Holding and its subsidiary Companies, as borrowers
  (the “DIP ABL Borrowers”), the other Companies, as guarantors (the “DIP ABL Guarantors”),
  the lenders from time to time party thereto (the “DIP ABL Lenders” and together with the DIP
  Term Loan Lenders, the “DIP Lenders”), and Barclays Bank PLC, as administrative agent and
  collateral agent for the DIP ABL Lenders (in such capacity, including any successor thereto, the
  “DIP ABL Agent” and together with the DIP Term Loan Agent, the “DIP Agents”); in each case
  subject to approval by the Bankruptcy Court, which is necessary and appropriate to the conduct,
  promotion and attainment of the business of the Companies (the “Debtor-in-Possession
  Financing”); and be it further

                  RESOLVED, that the form, terms, and provisions of each of (i) the DIP Credit
  Agreements, including the use of proceeds to provide liquidity for the Companies throughout the
  Chapter 11 Cases, substantially in the form presented to each Governing Body and (ii) any and all
  of the other agreements, including, without limitation, any guarantee and security agreement,
  certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
  and/or filed in connection with the Debtor-in-Possession Financing (together with the DIP Credit
  Agreements, collectively, the “DIP Financing Documents”), and each Company’s performance
  of its obligations thereunder, including the borrowings, the grant of a security interest and
  guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and approved;
  and be it further

                 RESOLVED, that any Authorized Person is hereby authorized, empowered, and
  directed, in the name and on behalf of each applicable Company to cause such Company to
  negotiate and approve the terms, provisions of and performance of, and to prepare, execute and
  deliver the DIP Credit Agreements and any other DIP Financing Documents, in the name and on
  behalf of such Company under its corporate seal or otherwise, and such other documents,
  agreements, instruments and certificates as may be required by the DIP Agents or required by the
  DIP Credit Agreements and any other DIP Financing Documents; and be it further




                                                  3
                  Case 19-10490        Doc 1     Filed 03/11/19     Page 15 of 37



                RESOLVED, that each Company be, and hereby is, authorized to incur the
 obligations and to undertake any and all related transactions contemplated under the DIP Financing
 Documents, including the granting of security thereunder; and be it further

                 RESOLVED, that any Authorized Person is hereby authorized to grant security
 interests in, and liens on, any and all property of each applicable Company as collateral pursuant
 to the DIP Financing Documents to secure all of the obligations and liabilities of the Company
 thereunder to the DIP Lenders and the DIP Agents, and to authorize, execute, verify, file and/or
 deliver to the DIP Agents, on behalf of such Company, all agreements, documents, and instruments
 required by the DIP Lenders in connection with the foregoing; and be it further

                 RESOLVED, that any Authorized Person is hereby authorized, empowered, and
 directed, in the name and on behalf of each applicable Company to take all such further actions
 including, without limitation, to pay all fees and expenses, in accordance with the terms of the DIP
 Financing Documents, which shall, in such Authorized Person’s sole judgment, be necessary,
 desirable, proper or advisable to perform such Company’s obligations under or in connection with
 the DIP Credit Agreements or any of the other DIP Financing Documents and the transactions
 contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                 RESOLVED, that any Authorized Person is hereby authorized, empowered, and
 directed, in the name and on behalf of each applicable Company to execute and deliver any
 amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
 and extensions of the DIP Credit Agreements and/or any of the DIP Financing Documents, which
 shall, in such Authorized Person’s sole judgment, be necessary, desirable, proper or advisable; and
 be it further

IV.       Exit Facility Financing

                 RESOLVED, that in connection with exiting the Chapter 11 Cases, it is in the best
 interest of each Company to engage in, and each Company will obtain benefits from, the guarantee
 of the lending transactions, under certain exit credit facilities in an aggregate principal amount of
 approximately $235,000,000 as described in (i) that certain Exit Facility Term Sheet (the “Exit
 ABL Term Sheet”) annexed to that certain Restructuring Support Agreement entered into by each
 Company (the “RSA”), as authorized by each applicable Governing Body, on March 7, 2019,
 which will be evidenced by a certain credit agreement (together with the Exhibits and Schedules
 annexed thereto, the “Exit ABL Credit Agreement”), to be entered into by and among the DIP
 ABL Borrowers (in such capacity, the “Exit ABL Borrowers”), the guarantors party thereto, the
 lenders party thereto (the “Exit ABL Lenders”), and Barclays Bank PLC, in its capacity as
 administrative agent and collateral agent for the Exit ABL Lenders (in such capacity, including
 any successor thereto, the “Exit ABL Administrative Agent”), and (ii) that certain Exit Facility
 Term Sheet annexed to the RSA (“Exit Term Loan Term Sheet” and together with the Exit ABL
 Term Sheet, the “Exit Term Sheets”; capitalized terms used in this section with respect to exit
 facility financing and not otherwise defined herein shall have the meanings ascribed to such terms
 therein), which will be evidenced by a certain credit agreement (together with the Exhibits and
 Schedules annexed thereto, the “Exit Term Loan Credit Agreement”; and together with the Exit
 ABL Credit Agreement, the “Exit Facility Credit Agreements”), to be entered into by and among
 CTI Foods Holding (in such capacity, the “Exit Term Loan Borrower”), the guarantors party

                                                   4
                 Case 19-10490        Doc 1    Filed 03/11/19      Page 16 of 37



thereto, the lenders party thereto (the “Exit Term Loan Lenders”), and Cortland Capital Markets
Services LLC in its capacity as administrative agent and collateral agent for the Exit Term Loan
Lenders (in such capacity, including any successor thereto, the “Exit Term Loan Administrative
Agent”; and together with the Exit ABL Administrative Agent, the “Exit Administrative
Agents”); in each case subject to approval by the Bankruptcy Court, which is necessary and
appropriate to the conduct, promotion and attainment of the business of the Companies (the “Exit
Financing”); and be it further

               RESOLVED, that the form, terms and provisions of each of (i) the Exit Term
Sheets, substantially in the form presented to each Governing Body and (ii) any and all of the other
agreements, including, without limitation, the Exit Facility Credit Agreements, any guarantee and
security agreement, certificates, documents and instruments authorized, executed, delivered,
reaffirmed, verified and/or filed in connection with the Exit Financing (together with the Exit
Facility Credit Agreements, collectively, the “Exit Facility Financing Documents”) and each
Company’s performance of its obligations thereunder, including the grant of a security interest and
the guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified, and
approved; and be it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to cause such Company to
negotiate and approve the terms, provisions of and performance of, and to prepare, execute and
deliver the Exit Financing Documents to which it is a party, in the name and on behalf of the
Company under its corporate seal or otherwise, and such other documents, agreements,
instruments and certificates as may be required by the Exit Administrative Agent or required by
the Exit Facility Credit Agreements and any other Exit Financing Documents; and be it further

               RESOLVED, that each Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the Exit Financing
Documents, including the granting of security thereunder; and be it further

                RESOLVED, that any Authorized Person is hereby authorized to grant security
interests in, and liens on, any and all property of each applicable Company as collateral pursuant
to the Exit Financing Documents to secure all of the obligations and liabilities of the Company
thereunder to the Exit Lenders and the Exit Administrative Agent, and to authorize, execute, verify,
file and/or deliver to each Exit Administrative Agent, on behalf of the Company, all agreements,
documents and instruments required by the Exit Lenders in connection with the foregoing; and be
it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to take all such further actions
including, without limitation, to pay all fees and expenses, in accordance with the terms of the Exit
Financing Documents, which shall, in such Authorized Person’s sole judgment, be necessary,
desirable, proper or advisable to perform the Company’s obligations under or in connection with
the Exit Financing Documents and the transactions contemplated therein and to carry out fully the
intent of the foregoing resolutions; and be it further



                                                 5
                 Case 19-10490       Doc 1     Filed 03/11/19     Page 17 of 37



               RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the Exit Facility Credit Agreements and/or any of the Exit Facility Financing
Documents which shall, in such Authorized Person’s sole judgment, be necessary, desirable,
proper or advisable; and be it further

V.       General Authorization and Ratification

                RESOLVED, that any Authorized Person, who may act without the joinder of any
other Authorized Person, is hereby authorized, empowered, and directed, in the name and on
behalf of each applicable Company, to cause such Company to enter into, execute, deliver,
certify, file and/or record, and perform, such agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities, certificates, or
other documents, and to take such other actions that in the judgment of any Authorized Person,
who may act without the joinder of any other Authorized Person, shall be or become necessary,
proper, or desirable in connection with the Chapter 11 Cases; and be it further

                RESOLVED, that any and all past actions heretofore taken by any Authorized
Person in the name and on behalf of the applicable Company in furtherance of any or all of the
preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects
as the acts and deeds of such Company; and be it further

              RESOLVED, that the Secretary of each Company will file a copy of these
resolutions with the minutes of the proceedings of the applicable Governing Body of each
Company to document the actions set forth herein as actions taken by the Governing Body of each
Company.




                                                 6
               Case 19-10490     Doc 1    Filed 03/11/19      Page 18 of 37



          IN WITNESS WHEREOF, the undersigned, being the managing member of
CHEF INVESTMENT, LLC, has executed this written consent as of the date set forth above.

                                         CHEF HOLDINGS, INC.


                                         By:
                                         Name: Jon Spiller
                                         Title: SVP General Counsel




                            [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 19-10490     Doc 1    Filed 03/11/19      Page 19 of 37



               IN WITNESS WHEREOF, the undersigned, being the sole and managing
member of CTI FOODS ACQUISITION LLC, has executed this written consent as of the date
set forth above.

                                        CHEF INVESTMENT, LLC


                                        By:
                                        Name: Jon Spiller
                                        Title: SVP General Counsel




                           [SIGNATURE PAGE TO WRITTEN CONSENT]
               Case 19-10490     Doc 1    Filed 03/11/19      Page 20 of 37



               IN WITNESS WHEREOF, the undersigned, being the sole and managing
member of CTI FOODS HOLDING CO., LLC, has executed this written consent as of the date
set forth above.

                                         CTI FOODS ACQUISITION LLC


                                         By:
                                         Name: Jon Spiller
                                         Title: SVP General Counsel




                            [SIGNATURE PAGE TO WRITTEN CONSENT]
               Case 19-10490      Doc 1    Filed 03/11/19      Page 21 of 37



            IN WITNESS WHEREOF, the undersigned, being the sole and managing
member of CTI FOODS, LLC, has executed this written consent as of the date set forth above.

                                          CTI FOODS HOLDING CO., LLC


                                          By:
                                          Name: Jon Spiller
                                          Title: SVP General Counsel




                             [SIGNATURE PAGE TO WRITTEN CONSENT]
               Case 19-10490     Doc 1    Filed 03/11/19      Page 22 of 37



                IN WITNESS WHEREOF, the undersigned, being the sole member of the board
of directors of CTI SERVICES CORPORATION, has executed this written consent as of the
date set forth above.


                                         Name: Michael Buccheri




                            [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 19-10490    Doc 1    Filed 03/11/19      Page 23 of 37



            IN WITNESS WHEREOF, the undersigned, being the sole and managing
member of CTI ARLINGTON, LLC, CTI SAGINAW I, LLC, CTI KING OF PRUSSIA, LLC,
CTI-SSI FOOD SERVICES, LLC, S & S FOODS LLC, and CUSTOM FOOD PRODUCTS
HOLDINGS, LLC, has executed this written consent as of the date set forth above.

                                       CTI FOODS, LLC


                                       By:
                                       Name: Jon Spiller
                                       Title: SVP General Counsel




                          [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 19-10490     Doc 1    Filed 03/11/19      Page 24 of 37



               IN WITNESS WHEREOF, the undersigned, being the sole and managing
member of CUSTOM FOOD PRODUCTS, LLC, has executed this written consent as of the date
set forth above.

                                        CUSTOM FOOD PRODUCTS HOLDINGS,
                                        LLC


                                        By:
                                        Name: Jon Spiller
                                        Title: SVP General Counsel




                           [SIGNATURE PAGE TO WRITTEN CONSENT]
               Case 19-10490     Doc 1    Filed 03/11/19      Page 25 of 37



               IN WITNESS WHEREOF, the undersigned, being the sole member of the board
of directors of LIGURIA HOLDINGS, INC. and LIGURIA FOODS, INC., has executed this
written consent as of the date set forth above.


                                         Name: Michael Buccheri




                            [SIGNATURE PAGE TO WRITTEN CONSENT]
                                           Case 19-10490                     Doc 1       Filed 03/11/19               Page 26 of 37
 
    Fill in this information to identify the case:                                               
    Debtor name: Chef Holdings, Inc.                                                  
    United States Bankruptcy Court for the District of Delaware
                                                    (State)
    Case number (If known):                                                                                                                             ☐ Check if this is an
                                                                                                                                                        amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                       12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
Name of creditor and complete mailing          Name, telephone number, and email                Nature of the       Indicate if    Amount of unsecured claim 
address, including zip code                    address of creditor contact                        claim (for         claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                               example, trade      contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                                 debts, bank      unliquidated,    claim amount and deduction for value of collateral 
                                                                                                    loans,         or disputed     or setoff to calculate unsecured claim. 
                                                                                                professional 
                                                                                                services, and 
                                                                                                government 
                                                                                                  contracts) 
                                                                                                                                    Total claim, if      Deduction for         Unsecured 
                                                                                                                                      partially             value of             claim 
                                                                                                                                      secured             collateral or 
                                                                                                                                                             setoff 
1       California Employees Class Action      Attn:  Kevin Mahoney 
        c/o Mahoney Law Group, APC             Phone:  (562) 590‐5550 
        Attn:  Kevin Mahoney                   Fax:  (562) 590‐8400                                 Litigation                                                               $1,500,000.00 
        249 East Ocean Boulevard, Suite 814    Email:  kmahoney@mahoney‐law.net 
        Long Beach, California 90802 
2       Saratoga Food Specialties              Attn:  Michael Marks 
        Attn:  Michael Marks                   Phone:  (800) 451‐0407 
        771 W. Crossroads Parkway              Fax:  (630) 993‐8732                                  Trade                                                                    $914,124.83 
        Bolingbrook, Illinois 60490            Email:  info@saratogafs.com 

3       Darifair Foods, Inc.                   Attn:  Tim Helms 
        Attn:  Tim Helms                       Phone:  (904) 268‐8999 
        4131 Sunbeam Road                      Fax:  (904) 268‐8666                                  Trade                                                                    $267,499.58 
        Jacksonville, Florida 32257            Email:  sales@darifair.com 

4       Kapstone Container Corporation         Attn: Bob McIntosh 
        Attn:  Bob McIntosh                    Phone:  (770) 448‐2193 
        1000 Abernathy Road                    Fax:  (866) 947‐0710                                  Trade                                                                    $212,858.26 
        Atlanta, Georgia 30328                 Email:  1101CorporateAR@westrock.com 

5       Empacadora G.A.B.                      Attn: Javier Usabiaga A 
        Attn: Javier Usabiaga A                Phone:  (956) 727‐0100 
        9330 San Mateo Dr                      Fax:  (956) 726‐0079                                  Trade                                                                    $202,999.70 
        Laredo, Texas 78045                    Email:  covemex@covemex.com 

6       La Monica Fine Foods                   Attn:  Michael A. Lavecchia 
        Attn:  Michael A. Lavecchia            Phone:  (856) 825‐8111 
        48 Gorton Road                         Fax:  (856) 825‐9354                                  Trade                                                                    $183,532.40 
        P.O. Box 309                           Email:  
        Millville, New Jersey 08332            mlavecchia@lamonicafinefoods.com 
7       Kraft Foods Ingredients, Corp          Kraft Foods Ingredients, Corp 
        Attn:  Rashida La Lande                Attn:  Rashida La Lande 
        801 Waukegan Road                      Phone:  (800) 458‐8324                                Trade                                                                    $157,020.12 
        Glenview, Illinois 60025               Fax:  (901) 381‐6513 
                                               Email:  kfirfi@kraftheinzcompany.com 
8       Neil Jones Food Company                Attn:  Brad Dean 
        Attn:  Brad Dean                       Phone:  (360) 696‐4356 
        1701 West 16th Street                  Fax:  (360) 696‐0050                                  Trade                                                                    $144,821.21 
        Vancouver, Washington 98666            Email:  bradld@njfco.com 




    Official Form 204                                   List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                             Page 1

 
 
                                               Case 19-10490                 Doc 1        Filed 03/11/19              Page 27 of 37
 
    Debtor      Chef Holdings, Inc.                                                                          Case number (if known)
                Name
 
Name of creditor and complete mailing           Name, telephone number, and email                Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code                     address of creditor contact                        claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                                example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                                  debts, bank     unliquidated,    claim amount and deduction for value of collateral 
                                                                                                     loans,        or disputed     or setoff to calculate unsecured claim. 
                                                                                                 professional 
                                                                                                 services, and 
                                                                                                 government 
                                                                                                   contracts) 
                                                                                                                                      Total claim, if    Deduction for         Unsecured 
                                                                                                                                        partially           value of             claim 
                                                                                                                                        secured           collateral or 
                                                                                                                                                             setoff 
9       Intelex Technologies, Inc.              Attn:  Steve Johnson                                                                                             
        Attn:  Steve Johnson                    Phone:  416‐599‐6009 
        70 University Avenue, Suite 800         Fax:  416‐599‐6867                                  Trade                                                                     $137,606.18 
        Toronto, Ontario  M5J 2M4               Email:  intelex@intelex.com 
        Canada 
10      Cryovac Inc.                            Attn:  Angel Willis                                                                                              
        Attn:  Angel Willis                     Phone:  (980) 430‐7000; 
        2415 Cascade Pointe Boulevard           Email:  ted.doheny@sealedair.com 
        Charlotte, North Carolina 28208          
                                                Attn: Julia Putnam                                  Trade                                                                     $116,426.81 
        Cryovac Inc.                            Phone:  (864) 433‐3831 
        Attn:  Julia Putnam                     Email:  julia.putnam@sealedair.com 
        Building B 300 Rogers Bridge Road 
        Duncan, South Carolina 29334 
11      Firmenich, Inc.                         Attn:  Jane Sinclair                                                                                             
        Attn: Jane Sinclair                     Phone:  (212) 489‐4800 
        625 Madison Avenue, 17th Floor          Fax:  (212) 980‐4312                                Trade                                                                     $106,812.33 
        New York, New York 10022                Email:  info@firmenich.com 

12      Eatem Foods Company                     Attn: Danine Freeman                                                                                             
        Attn:  Danine Freeman                   Phone:  (800) 683‐2836 
        1829 Gallagher Drive                    Fax:  (856) 692‐0847                                Trade                                                                     $98,436.00 
        Vineland, New Jersey 8360               Email:  sales@eatemfoods.com 

13      Pietrini Contractors Inc.               Attn:  Francis Pietrini                                                                                          
        Attn:  Francis Pietrini                 Phone:  (610) 265‐2110 
        111 East Church Road                    Fax:  (610) 265‐6068                                Trade                                                                     $93,921.00 
        King of Prussia, Pennsylvania 19406     Email:  EST@bpietrini.com 

14      Boardman Foods                          Attn:  Brian Maag                                                                                                
        Attn:  Brian Maag                       Phone:  (541) 481‐3000 
        71320 Columbia Blvd                     Fax:  (801) 881‐8999                                Trade                                                                     $92,943.00 
        Boardman, Oregon 97818                  Email:  contact@boardmanfoods.com 

15      Dale T Smith & Sons Inc.                Attn:  Darrell Smith                                                                                             
        Attn:  Darrell Smith                    Phone:  (801) 571‐3611 
        12450 South Pony Express Road           Fax:  (801) 571‐3685                                Trade                                                                     $89,285.40 
        Draper, Utah 84020                      Email:  darrell@smithmeats.com 

16      WM. A.J. Shaeffer's Sons Inc.           Attn:  Jerry Shaeffer                                                                                            
        Attn:  Jerry Shaeffer                   Phone:  (610) 962‐5500 
        420 Drew Court                          Fax:  (610) 962‐5533                                Trade                                                                     $87,036.00 
        King of Prussia, Pennsylvania 19406     Email:  gshaeffer@shaefferelectric.com 

17      Grainger                                Attn: John L. Howard                                                                                             
        Attn: John L. Howard                    Phone:  (847) 535‐1000 
        100 Grainger Pkwy                       Fax:  (847) 535‐0878                                Trade                                                                     $83,249.87 
        Lake Forest, Illinois 60045             Email:  feedback@ic.grainger.com 

18      CS Beef Packers LLC                     Attn:  Jim Hargis                                                                                                
        Attn:  Jim Hargis                       Phone:  (208) 810‐7510 
        17365 S. Cole Rd.                       Fax:  (208) 810‐7528                                Trade                                                                     $82,672.90 
        Kuna, Idaho 83634                       Email:  info@csbeef.com 

19      Dickinson Frozen Foods, Inc.            Attn: Peter Reijula                                                                                              
        Attn:  Peter Reijula                    Phone:  (208) 452‐5200 
        1205 Iron Eagle Dr, Suite B             Fax:  (208) 452‐5365                                Trade                                                                     $76,356.80 
        Eagle, Idaho 83616                      Email:  customerservice@df‐foods.com 




    Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                            Page 2

 
                                            Case 19-10490                Doc 1       Filed 03/11/19             Page 28 of 37
 Debtor       Chef Holdings, Inc.                                                                       Case number (if known)
              Name


Name of creditor and complete mailing        Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim 
address, including zip code                  address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                          example, trade      contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                            debts, bank      unliquidated,    claim amount and deduction for value of collateral 
                                                                                               loans,         or disputed     or setoff to calculate unsecured claim. 
                                                                                           professional 
                                                                                           services, and 
                                                                                           government 
                                                                                             contracts) 
                                                                                                                                 Total claim, if    Deduction for         Unsecured 
                                                                                                                                   partially           value of             claim 
                                                                                                                                   secured           collateral or 
                                                                                                                                                        setoff 
20    ICL Specialty Products, Inc.           Attn: Lisa Haimovitz 
      Attn:  Lisa Haimovitz                  Phone:  972‐3‐684‐4400 
      Millennium Tower, 23 Aranha St         Fax:  972‐3‐684‐4444                             Trade                                                                      $67,264.75 
      Tel Aviv, 61070                        Email:  contactus@icl‐group.com 
      Israel 
21    Smurfit Kappa Bates Specialty          Attn:  Brian Marshall 
      Attn:  Brian Marshall                  Phone:  (817) 498‐3200 
      8212 Northeast Pkwy.                   Fax:  (817) 581‐8802                             Trade                                                                      $67,010.52 
      North Richland Hills, Texas 76182      Email:  jennifer.victory@smurfitkappa.com 

22    Armstrong Transport Group Inc.         Attn:  Christopher Cobb 
      Attn:  Christopher Cobb                Phone:  (877) 240‐1181 
      8210 University Executive Park         Fax:  (704) 784‐3036                             Trade                                                                      $66,495.62 
      Drive, Suite 210                       Email:  info@armstrongtransport.com 
      Charlotte, North Carolina 28262 
23    Package Concepts & Materials           Attn:  Frank F. Khulusi 
      Attn:  Frank F. Khulusi                Phone:  (864) 458‐7291 
      1023 Thousand Oaks Blvd.               Fax:  (864) 458‐7295                             Trade                                                                      $66,150.00 
      Greenville, South Carolina 29607       Email:  sales@packageconcepts.com 

24    Applied Ind Tech Inc.                  Attn:  Fred D. Bauer 
      Attn:  Fred D. Bauer                   Phone:  (216) 426‐4000 
      1 Applied Plaza                        Fax:  (216) 426‐4826                             Trade                                                                      $65,864.29 
      Cleveland, Ohio 44115                  Email:  questions@applied.com 

25    Bongards Creameries                    Attn:  Scott Tomes 
      Attn:  Scott Tomes                     Phone:  (952) 277‐5500 
      250 Lake Drive East                    Fax:  (952) 466‐5556                             Trade                                                                      $64,836.45 
      Chanhassen, Minnesota 55317            Email:  Scott.Tomes@bongards.com 

26    Haven Sales and Marketing LLC          Attn:  Rodger Starnes 
      Attn:  Rodger Starnes                  Phone:  (479) 319‐2440 
      3101 SW I St, Suite# 67                                                                 Trade                                                                      $64,689.25 
      Bentonville, Arizona 72712 

27    International Flavors & Fragrances     Attn:  Anne Chwat 
      Attn:  Anne Chwat                      Phone:  (212) 765‐5500 
      521 West 57th Street                   Fax:  (212) 708‐7132                             Trade                                                                      $63,153.18 
      New York, New York 10019               Email:  michael.deveau@iff.com 

28    Expor San Antonio S A DE C V           Attn:  Rob Rickerby 
      c/o Expor San Antonio U.S.A.           Phone:  (770) 993‐0030 
      Attn:  Rob Rickerby                    Fax:  (770) 993‐0792                             Trade                                                                      $54,315.00 
      500 Sun Valley Drive, Suite C‐3        Email:  robr@rfsltd.com 
      Roswell, Georgia 30076 
29    Oregon Potato Co.                      Attn:  Frank Tiegs 
      Attn:  Frank Tiegs                     Phone:  (541) 481‐2715 
      650 E. Columbia Ave                    Fax:  (541) 481‐3443                             Trade                                                                      $52,830.60 
      Boardman, Oregon 97818                 Email:  frank@ftiegs.com 

30    The Andersons Inc.                     Attn:  Patrick E. Bowe 
      Attn:  Patrick E. Bowe                 Phone:  (419) 893‐5050 
      1947 Briarfield Blvd.                  Fax:  (419) 891‐6672                             Trade                                                                      $52,619.21 
      P.O. Box 119                           Email:  anne_rex@andersonsinc.com 
      Maumee, Ohio 43537 




 Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                          Page 3
                    Case 19-10490           Doc 1      Filed 03/11/19   Page 29 of 37



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :   Chapter 11
                                                             :
CHEF HOLDINGS, INC.                                          :   Case No. 19– ________ (   )
                                                             :
                                                             :
                    Debtor.                                  :
 ----------------------------------------------------------- x

        CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

         Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached hereto

as Exhibit A is an organizational chart reflecting all of the ownership interests in CTI Foods, LLC

and its affiliated debtors, as proposed debtors and debtors in possession (collectively, the

“Debtors”). The Debtors respectfully represents as follows:

         1.           Thomas H. Lee Equity Fund VI, L.P., Thomas H. Lee Parallel Fund VI, L.P.,

Thomas H. Lee Parallel (DT) Fund VI, L.P., Great-West Investors LP, Putnam Investments

Employees’ Securities Company II, LLC, THL Coinvestment Partners, L.P., and THL Operating

Partners, L.P. collectively own 55.21% of the equity interests of Chef Holdings, Inc. and Broad

Street Principal Investments, L.L.C., MBD 2013 Holdings, L.P., and Bridge Street 2013 Holdings,

L.P. collectively own 39.10% of the equity interests of Chef Holdings, Inc. To the best of the

Debtors’ knowledge and belief, no other person or entity directly owns 10% or more of Chef

Holdings, Inc.’s common stock.

         2.           Chef Holdings, Inc. directly owns 100% of the equity interests in Chef

Intermediate, Inc.

         3.           Chef Intermediate, Inc. directly owns 100% of the equity interests in CTIF

Holdings, Inc.
                    Case 19-10490          Doc 1      Filed 03/11/19        Page 30 of 37



        4.            CTIF Holdings, Inc. directly owns 95.25% of the membership interests in Chef

Investment, LLC, and Chef Holdings, Inc. directly owns 4.75% of the membership interests in

Chef Investment, LLC.1

        5.            Chef Investment, LLC directly owns 100% of the membership interests in CTI

Foods Acquisition LLC.

        6.            CTI Foods Acquisition LLC directly owns 100% of the membership interests

in CTI Foods Holding Co., LLC.

        7.            CTI Foods Holding Co., LLC directly owns 100% of the membership interests

or equity interests, as applicable, of:

                 a. CTI Foods, LLC; and

                 b. CTI Services Corporation.

        8.       CTI Foods, LLC directly owns 100% of the membership interests or equity

interests, as applicable, of:

                 c. CTI Arlington, LLC;

                 d. CTI Saginaw I, LLC;

                 e. CTI King of Prussia, LLC;

                 f. CTI-SSI Food Services, LLC;

                 g. S & S Foods LLC;

                 h. Custom Food Products Holdings, LLC; and

                 i. Liguria Holdings, Inc.




1
 Certain non-Debtor individuals hold non-voting “Profit Units” in Chef Investment, LLC, but all Preferred Units and
Common Units are held by Chef Holdings, Inc. and CTIF Holdings, Inc.



                                                        2
                Case 19-10490     Doc 1    Filed 03/11/19    Page 31 of 37



       9.        Custom Food Products Holdings, LLC directly owns 100% of the membership

interests of Custom Food Products, LLC.

       10.       Liguria Holdings, Inc. directly owns 100% of the equity interests of Liguria

Foods, Inc.




                                             3
Case 19-10490   Doc 1     Filed 03/11/19   Page 32 of 37



                        Exhibit A

                Organizational Chart
Case 19-10490   Doc 1   Filed 03/11/19   Page 33 of 37
                    Case 19-10490           Doc 1        Filed 03/11/19           Page 34 of 37




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :              Chapter 11
                                                             :
CHEF HOLDINGS, INC.                                          :              Case No. 19– ________ (      )
                                                             :
                                                             :
                   Debtor.                                   :
----------------------------------------------------------- x

                                     LIST OF EQUITY HOLDERS1

                 Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

      Name and Last Known Address or Place of                                              Number of Interests
                                                                       Class of Interest
                  Business of Holder                                                            Held
                      Ben Badiola
                                                                           Common Stock           0.71%
        3783 HWY 95, Homedale, Idaho 83628
                   Jesus A. Barboza
                                                                           Common Stock           0.25%
         619 Keogh Ln, Caldwell, Idaho 83605
                    Gregory Borup
                                                                           Common Stock           0.05%
    4211 N Black Canyon Pl, Meridian, Idaho 83642
           Bridge Street 2013 Holdings, L.P.
                                                                           Common Stock           3.57%
        1209 Orange St, Wilmington, DE 19801
       Broad Street Principal Investments, L.L.C.
                                                                           Common Stock           34.50%
     200 West St, New York City, New York 10282




1
 This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Cases.


                                                  List of Equity Holders                                         1
                  Case 19-10490       Doc 1       Filed 03/11/19           Page 35 of 37
                                                                                                               




       Name and Last Known Address or Place of                                      Number of Interests
                                                                Class of Interest
                    Business of Holder                                                   Held
                       Pam Cardinale
                                                                    Common Stock           0.11%
        8576 W Pool Ct, Garden City, Idaho 83714
                      Albert Celentano
                                                                    Common Stock           0.08%
            603 Eagle Ct, Keller, Texas, 76248
                      Lance Chambers
                                                                    Common Stock           0.07%
        3024 Hartzell St, Evanston, Illinois, 60201
                   Joseph Christopherson
                                                                    Common Stock           0.02%
          1307 3rd Ave, N Humboldt, Iowa 50548
                  Robert Elwood Cooper
                                                                    Common Stock           0.14%
          25445 Marina Ct, Wilder, Idaho, 83676
                     Trevor A. Curtiss
                                                                    Common Stock           0.04%
            P O Box 1112, Parma, Idaho, 83628
                       Will Davenport
                                                                    Common Stock           0.05%
         10 Oxford Pl, Trophy Club, Texas, 76262
                     Keith E. Dunning
                                                                    Common Stock           0.23%
           2414 Big Sky, Caldwell, Idaho, 83605
                    Alfonso Estrada, III
                                                                    Common Stock           0.18%
       1256 Tesoro Way, Corona, California, 92879
                          John Flick
                                                                    Common Stock           0.11%
        5108 Byers Ave, Fort Worth, Texas 76107
                         John Fortino
                                                                    Common Stock           0.02%
         126 Kildrummy Ln, Austin, Texas, 78738
                       Randy Furtner
                                                                    Common Stock           0.18%
      6500 Castle Pines Rd, Fort Worth, Texas 76132
                  Great-West Investors LP
             c/o Thomas H. Lee Partners, L.P.
                                                                    Common Stock           0.16%
                 100 Federal St, 35th Floor
               Boston, Massachusetts 02110
                      Jeffrey H. Grohs
                                                                    Common Stock           0.54%
       13180 Waterview Rd, Caldwell, Idaho 83607
                        Joseph Henry
                                                                    Common Stock           0.03%
      11693 E Lake Pl, Englewood, Colorado 80111
                      Robert Horowitz
            3750 South Las Vegas Blvd #4004                         Common Stock           0.71%
                   Las Vegas, NV 89158
                      David Kubosumi
                                                                    Common Stock           0.14%
         3381 Donnington Pl, Eagle, Idaho, 83616
                       Justin Malvick
                                                                    Common Stock           0.04%
        4692 N Torridon Way, Boise, Idaho, 83702
                 MBD 2013 Holdings, L.P.
         Ugland House, George Town, KY1-1103                        Common Stock           1.04%
                      Cayman Islands
                    Jacquelyn McAlpin
                                                                    Common Stock           0.05%
    1416 E. Comstock Ave, Glendora, California 91741
                       Todd Menaker
                                                                    Common Stock           0.09%
         504 Sansom Blvd, Saginaw, Texas 76179




                                           List of Equity Holders                                         2

 
                   Case 19-10490      Doc 1       Filed 03/11/19           Page 36 of 37
                                                                                                               




       Name and Last Known Address or Place of                                      Number of Interests
                                                                Class of Interest
                     Business of Holder                                                  Held
    Mountain West IRA, Inc. FBO Michael R. Jones IRA
                                                                    Common Stock           0.04%
          2787 W Timber Dr, Eagle, Idaho, 83616
                      Frank Muschetto
                                                                    Common Stock           0.10%
           620 N Main, Naperville, Illinois 60563
                      Damon Parkhurst
                                                                    Common Stock           0.09%
       4421 Southwestern Blvd, Dallas, Texas 75225
                       Lowell Phillips
                                                                    Common Stock           0.09%
        6404 Kentucky Ct, Colleyville, Texas 76034
    Putnam Investments Employees’ Securities Company
                           III LLC
              c/o Thomas H. Lee Partners, L.P.                      Common Stock           0.16%
                  100 Federal St, 35th Floor
                Boston, Massachusetts 02110
                        Sam B. Rovit
                                                                    Common Stock           0.46%
       702 W Schubert Ave, Chicago, Illinois, 60614
                     S&B Capital, LLC
               1010 Northern Blvd, Suite 350,                       Common Stock           0.54%
                Great Neck, New York 11021
                      S-3 Properties LP
                                                                    Common Stock           0.36%
     444 Madison Ave, Floor 41, New York, NY 10022
                      Richard Shiraishi
          19322 Sycamore Glen, Trabuco Canyon                       Common Stock           0.18%
                      California 92679
              THL Coinvestment Partners, LP
              c/o Thomas H. Lee Partners, L.P.
                                                                    Common Stock           1.03%
                  100 Federal St, 35th Floor
                Boston, Massachusetts 02110
                 THL Operating Partners, LP
              c/o Thomas H. Lee Partners, L.P.
                                                                    Common Stock           0.00%
                  100 Federal St, 35th Floor
                Boston, Massachusetts 02110
             Thomas H Lee Equity Fund VI, LP
              c/o Thomas H. Lee Partners, L.P.
                                                                    Common Stock           30.00%
                  100 Federal St, 35th Floor
                Boston, Massachusetts 02110
            Thomas H Lee Parallel Fund VI, LP
              c/o Thomas H. Lee Partners, L.P.
                                                                    Common Stock           20.31%
                  100 Federal St, 35th Floor
                Boston, Massachusetts 02110
         Thomas H Lee Parallel (DT) Fund VI, LP
              c/o Thomas H. Lee Partners, L.P.
                                                                    Common Stock           3.55%
                  100 Federal St, 35th Floor
                Boston, Massachusetts 02110

 




                                           List of Equity Holders                                         3

 
                                  Case 19-10490               Doc 1         Filed 03/11/19               Page 37 of 37
 



    Fill in this information to identify the case:

    Debtor name: Chef Holdings, Inc.
    United States Bankruptcy Court for the District of Delaware
                                                   (State)
    Case number (If known):




Official Form 202
     Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


                 Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
         partnership; or another individual serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
         correct:
         ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         ☐      Schedule H: Codebtors (Official Form 206H)
         ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         ☐      Amended Schedule ____
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                (Official Form 204)
               Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity Security
                Holders
          
         I declare under penalty of perjury that the foregoing is true and correct.



          Executed on March 11, 2019
                                                          /s/ Kent Percy
                                                           Signature of individual signing on behalf of debtor
                         MM / DD /YYYY
                                                           Kent Percy
                                                           Printed name

                                                           Chief Restructuring Officer
                                                           Position or relationship to debtor




    Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors

 
